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14
                                  UNITED STATES DISTRICT COURT
15                              NORTHERN DISTRICT OF CALIFORNIA
16
17    IN RE: ROUNDUP PRODUCTS LIABILITY                  MDL No. 2741
      LITIGATION
18                                                       Case No. 16-md-02741-VC
19                                                       PLAINTIFF’S RESPONSE TO
      This document relates to:
                                                         MOTION TO EXCLUDE
20                                                       TESTIMONY OF DR. CHARLES
      Dickey v. Monsanto Co., 3:19-cv-04102-VC
21    Domina v. Monsanto Co., 3:16-cv-05887-VC           JAMESON ON DAUBERT
      Giglio v. Monsanto Co., et al., 3:16-cv-05658-VC   GROUNDS
22    Janzen v. Monsanto Co., 3:19-cv-04103-VC
      Perkins v. Monsanto Co., 3:16-cv-06025-VC
23    Pollard v. Monsanto Co., 3:19-cv-04100-VC
      Russo v. Monsanto Co., 3:16-cv-06024-VC
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        PLAINTIFFS’RESPONSE TO MOTION TO EXCLUDE TESTIMONY OF DR. JAMESON
              Case 3:16-md-02741-VC Document 8332 Filed 12/10/19 Page 2 of 6



 1         PLAINTIFF’S RESPONSE TO MOTION TO EXCLUDE TESTIMONY OF DR.
                       CHARLES JAMESON ON DAUBERT GROUNDS
 2
            Plaintiffs have not and do not intend to “defy the limits placed on Dr. Jameson’s testimony
 3
     and to blur the lines between expert and fact testimony.”    Monsanto’s motion is essentially a
 4
     motion in limine. However, “[M]otions in limine must identify the evidence at issue and state
 5
     with specificity why such evidence is inadmissible.” Colton Crane Co., LLC v. Terex Cranes
 6
     Wilmington, Inc. (C.D. Cal., May 19, 2010, No. CV 08-8525PSGPJWX) 2010 WL 2035800, at
 7
     *1. Here, Dr. Jameson’s fact witness testimony would not be affected by the Court’s limitations
 8
     on his expert testimony and Monsanto fails to identify any specific fact witness testimony
 9
     regarding IARC given in Pilliod, or at deposition, that would be affected. Monsanto’s motion
10
     should therefore be denied.
11
            Dr. Charles Jameson was initially designated by both Plaintiffs and Monsanto as a mixed
12
     fact and expert witness. On July 31, 2017, Monsanto designated three IARC working group
13
     members as non-retained expert witnesses, including Dr. Jameson, stating “Monsanto may elicit
14
     testimony from Dr. Jameson regarding the facts and opinions testified to in his May 3, 2017
15
     deposition, including: (i) the IARC Working Group 112 deliberations and analysis and the
16
     resulting IARC Monograph 112; (ii) the relevant scientific evidence with respect to glyphosate;
17
     and (iii) Dr. Jameson’s prior IARC monograph and consulting expert work.” Travers Decl. at
18
     Exhibit A. It was Monsanto who moved to compel the production of Dr. Jameson as fact witness
19
     in this litigation. PTO 16.
20
            Dr. Jameson’s anticipated testimony is no mystery and certainly not vague. He testified in
21
     detail at the Pilliod trial where he appropriately offered both his independent opinion testimony
22
     and fact testimony regarding the IARC process and his experience as a member of the IARC
23
     working group evaluating glyphosate. His fact opinion was also explored in several depositions.
24
     The Court in Pilliod held that Dr. Jameson’s entire causation opinion was admissible. Travers
25
     Decl. at Ex. B (“Pilliod Tr.”) at 2348:19-2349:6.
26
            Here, the Court has explicitly allowed Dr. Jameson’s “opinions regarding glyphosate's
27
     ability to cause cancer in animals.” In re Roundup Products Liability Litigation (N.D. Cal. 2018)
28


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        PLAINTIFFS’RESPONSE TO MOTION TO EXCLUDE TESTIMONY OF DR. JAMESON
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 1
     390 F.Supp.3d 1102, 1152. 1 The Court also held that Dr. Jameson’s full hazard assessment of
 2
     glyphosate “is one that meets Daubert's reliability requirement, but it does not itself allow the
 3
     plaintiffs to survive summary judgment and, as discussed in Section II, may not be admissible in
 4
     this case at all,...” Id. at 1146–1147. Simply because Dr. Jameson’s opinion in and of itself does
 5
     not satisfy Plaintiff’s burden of proof, does not mean that he cannot offer such an opinion.
 6
     “Reliable expert testimony need only be relevant, and need not establish every element that the
 7
     plaintiff must prove, in order to be admissible.” Id.; Pyramid Technologies, Inc. v. Hartford Cas.
 8
     Ins. Co. (9th Cir. 2014) 752 F.3d 807, 816; Whitlock v. Pepsi Americas (9th Cir. 2013) 527
 9
     Fed.Appx. 660, 661 (Although expert’s testimony “alone, might not establish causation, his report
10
     is not inadmissible on that ground.”). To the extent, his independent opinions on epidemiology
11
     and mechanistic studies are deemed not admissible, Plaintiffs will simply refrain from asking Dr.
12
     Jameson for his independent expert opinions outside of the animal studies. However, to the extent
13
     any of Dr. Jameson’s fact witness testimony about the IARC process could be described as expert
14
     witness testimony, then that testimony would certainly pass muster under Rule 701.
15
            The Court did find that Dr. Jameson’s factual testimony regarding IARC’s procedures and
16
     the IARC working group 112 were not admissible for phase I of the Hardeman trial, PTO 81.2
17
     The admissibility of Dr. Jameson’s testimony for phase II was not brought before the Court.
18
     However, the Court did tentatively rule that the testimony of other IARC working group
19
     participants, Dr. Aaron Blair and Dr. Matthew Ross, would be admissible in Phase II of the
20
     Hardeman trial. With respect to Dr. Ross, the Court stated:
21
            The portions of the deposition testimony designated by both sides are, aside from the
22          background information about Dr. Ross’s training and experience, almost exclusively
            related to IARC’s process and analysis. Therefore, his deposition testimony is not
23          admissible during Phase 1. Having reviewed the designations and counter-designations,
            the Court is tentatively of the view that all of them, or virtually all of them, would be
24
25   1
       Plaintiffs have again designated Dr. Jameson’s opinions on epidemiology and mechanistic data to
     preserve the issue for appeal. Plaintiffs do not intend to re-litigate the issue and incorporate by
26   reference its prior Daubert briefing.
     2
       Plaintiffs likewise disagree with the Court’s ruling in PTO 81 and preserve its objection for
27
     appeal by incorporating by reference its Plaintiffs’ Opposition to Monsanto’s Motion in Limine
28   No. 1 to Exclude Evidence and Testimony Regarding IARC’s Classification of Glyphosate.



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         PLAINTIFFS’RESPONSE TO MOTION TO EXCLUDE TESTIMONY OF DR. JAMESON
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 1          admissible in Phase 2, but the Court will await a new submission

 2   PTO 88. With respect to Dr. Blair the Court stated:

 3
            The plaintiff has disclosed Dr. Aaron Blair, who was chair of the IARC working group on
 4          glyphosate, as a fact witness who would testify by deposition about IARC's conclusion that
            glyphosate is a probable carcinogen. As the Court has ruled, testimony about IARC's
 5          process or analysis is not admissible at Phase 1, subject to the very limited exceptions that
            have been previously described. The deposition testimony designated by the plaintiff from
 6          Dr. Blair goes almost exclusively to IARC's process and analysis (or to Dr. Blair's
            education, experience, and credentials). This testimony is therefore inadmissible at Phase
 7          1. However, as previously ruled, the plaintiff may elicit brief testimony from Dr.
            Weisenburger about who Dr. Blair is. Significant portions of Dr. Blair’s testimony
 8          appear admissible during Phase 2

 9   PTO 95. In fact, during the Johnson v. Monsanto trial it was Monsanto that chose to play the

10   videotaped testimony of Dr. Ross and Dr. Blair at trial. Travers Decl. at Exhibit C. There is no

11   legitimate basis for distinguishing the admissibility of Dr. Ross and Dr. Blair’s IARC testimony

12   from the admissibility of Dr. Jameson’s IARC testimony.

13          During the Pilliod trial, Plaintiffs were not required to strictly delineate Dr. Jameson’s

14   testimony into a factual testimony section and an opinion testimony section because the Pilliod

15   trial was not bifurcated. However, it is not difficult to read through the transcript to determine

16   what constitutes fact witness testimony and what constitutes expert witness testimony. Pages

17   2116-2150 of the Pilliod transcript consists of primarily fact witness testimony. Dr. Jameson’s

18   time at IARC was primarily focused in the animal carcinogenicity group, so his fact witness

19   testimony addressing epidemiology and mechanistic studies would necessarily be limited. Dr.

20   Jameson may testify what the IARC preamble says about epidemiology generally because it was

21   necessary for him to know that information to vote on the general classification of glyphosate. Dr.

22   Jameson may also testify what the epidemiology subgroup members reported to the entire working

23   group during the plenary session because that formed the basis of Dr. Jameson’s vote to classify

24   IARC as a probable human carcinogen. See e.g. Pilliod Tr. at 2149:19-2150:23 (discussing events

25   at plenary meeting he attended where he relays the epidemiologists’ statements about the evidence

26   which convinced the group to classify glyphosate as a group 2A carcinogen rather than a group 1

27   carcinogen). This testimony is easily distinguishable from where Dr. Jameson offers his own

28   independent opinion about the epidemiology. Id. at 2150:25-2151:18. Nonetheless, Monsanto



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        PLAINTIFFS’RESPONSE TO MOTION TO EXCLUDE TESTIMONY OF DR. JAMESON
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              Case 3:16-md-02741-VC Document 8332 Filed 12/10/19 Page 5 of 6



 1
     fails to identify any objectionable testimony from the Pilliod trial.
 2
            For the aforementioned reasons, Monsanto’s motion should be denied.
 3
     Dated: December 10, 2019
 4                                                          Respectfully submitted,

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17                                                          Co-Lead Counsel for Plaintiffs
18                                                          in MDL No. 274

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        PLAINTIFFS’RESPONSE TO MOTION TO EXCLUDE TESTIMONY OF DR. JAMESON
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              Case 3:16-md-02741-VC Document 8332 Filed 12/10/19 Page 6 of 6



 1                                     CERTIFICATE OF SERVICE
 2
            I HEREBY CERTIFY that on this 10th day of December, 2019, a copy of the foregoing
 3
     was filed with the Clerk of the Court through the CM/ECF system which sent notice of the filing
 4
     to all appearing parties of record.
 5
 6
                                                        /s/ Jeffrey Travers
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        PLAINTIFFS’RESPONSE TO MOTION TO EXCLUDE TESTIMONY OF DR. JAMESON
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